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 1   MICHAEL GAINES, Bar No. 50553
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     San Francisco, CA 94107
 3   (415) 495-0112
 4   Attorney for Defendant
     JOSE CAMPOS-GARCIA
 5
 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11
12    UNITED STATES OF AMERICA,                          )   No.:    CR 05-00149 MHP
                                                         )
13                        Plaintiff,                     )
                                                         )   NOTICE OF SUBSTITUTION OF
14    vs.                                                )   COUNSEL
                                                         )
15    JOSE CAMPOS-GARCIA, et al.,                        )
                                                         )
16                      Defendants.                      )

17          I, JOSE CAMPOS-GARCIA, Defendant in the above-entitled matter hereby consent to the

18   substitution of MICHAEL GAINES, Attorney at Law, as my attorney of record in place and stead

19   of Michael Leff, Attorney at law.

20   DATED: June 14, 2006

21                                                      \S\ Jose Campos-Garcia
                                                       JOSE CAMPOS-GARCIA
22
23   I hereby accept the foregoing substitution.
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                                                                                TES D      TC
24   DATED: June 14, 2006
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                                                        /S/ Michael Gaines
                                                                        ED




25
                                                                                                            RT




                                                      MICHAEL GAINES                            ERED
                                                                                     O ORD
                                                                    UNIT




26                                                                           IT IS S
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27                               June 15, 2006
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                                                                                             lyn H. P
                                                                     NO




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28                                                                                Judge M
                                                                                                                   FO
                                                                      RT




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     The original of this document with original signatures is on file in the Office of Michael Gaines.
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